          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
---------------------------------------------------------------
UNITED STATES OF AMERICA,                                       :
                                                                :
                         Plaintiff,                             : CRIMINAL NO: 2:19-cr-00064-JLS-1
         v.                                                     :
                                                                :
JOHN DOUGHERTY,                                                 :
                                                                :
                         Defendant.                             :
                                                                :
-----------------------------------------------------------------

     DEFENDANT JOHN DOUGHERTY’S MEMORANDUM OF LAW IN SUPPORT OF
      CONTINUING TO SEAL FBI AGENT JASON BLAKE’S WIRETAP AFFIDAVIT

               For the reasons herein, Defendant John Dougherty respectfully requests that the

Court continue to seal FBI Agent Jason Blake’s April 29, 2015 Affidavit in Support of Wire and

Electronic Interception (the “Affidavit”) or, in the alternative only unseal a version of the

Affidavit that redacts irrelevant and unduly prejudicial allegations related to uncharged conduct

or uncharged individuals.

I.      INTRODUCTION

               On August 6, 2019, Defendant John Dougherty, by and through his undersigned

counsel, filed a Motion to Suppress Title III Wiretap Evidence. (Dkt. No. 97.) Dougherty seeks

to suppress the wiretap evidence the government obtained on the narrow grounds that the

government failed to establish that a wiretap was “necessary” pursuant to 18 U.S.C.

§ 2518(1)(c). While Dougherty quotes and cites to portions of the Affidavit in support of that

motion, the portions cited relate to Agent Blake’s conclusion and legal boilerplate, and are

substantially similar to the allegations contained in the Indictment.

               In response to Dougherty’s motion, the government, too, cited to various portions

of the Affidavit. The portions cited in its response pertained to: (1) the government’s objectives
          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 2 of 7




of its investigation; (2) Agent Blake’s experience and basis for his belief that interception was

appropriate; and (3) details regarding other investigatory techniques that were employed prior to

the interceptions. The government, like Dougherty, did not cite or quote any private information

or information related to uncharged individuals or to conduct that was not alleged in the

Indictment.

               On May 26, 2020, the Court contacted Dougherty’s counsel to inquire whether

Dougherty sought a hearing on his motion to suppress. In response to that request, on June 1,

2020, Dougherty submitted a letter to the Court requesting an evidentiary hearing. After learning

that the government would oppose such a request, Dougherty submitted a supplemental letter on

June 2 outlining the reasons why an evidentiary hearing is appropriate. In that letter, Dougherty

quoted from two portions of the Affidavit, and more generally summarized two other portions.

The portions of the Affidavit that Dougherty cited demonstrated that Agent Blake failed to lay

the factual predicate justifying that a wiretap was necessary to investigate the target crime of

embezzlement. The government formally responded by letter on June 3 to assert that a hearing

was not warranted. With the permission of the Court, Dougherty filed a reply letter on June 4,

2020. In that letter, he cited to several portions of the Affidavit that demonstrate that traditional

investigatory means would have sufficed in the government’s investigation. As with the original

briefing from August 2019, the parties’ correspondence with the Court did not reveal any private

information found in the Affidavit.

II.    ARGUMENT

               The Court has asked the parties to address whether in light of the parties’ citations

to the Affidavit in both the briefing and subsequent letters to the Court, the Court should unseal

the entirety of the Blake Affidavit. The simple answer is no, as “good cause” does not exist to




                                                  2
          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 3 of 7




unseal the Affidavit. See 18 U.S.C. § 2518(8)(b). The parties have not revealed information

from the Affidavit such that a document containing unfounded allegations, irrelevant and unduly

prejudicial facts, and allegations against uncharged individuals should be disclosed. However, to

the extent the Court believes that the portion of the Affidavit the parties have discussed in public

filings have already been disclosed, then the Court should unseal a redacted version of the

Affidavit.

               The Court should maintain the Affidavit under seal. “[T]he right to inspect and

copy judicial records is not absolute.” Nixon v. Warner Commc’ns, 435 U.S. 589, 598 (1978).

Rather, “[e]very court has supervisory power over its own records and files, and access has been

denied where court files might have become a vehicle for improper purposes.” Id. While there

is a presumption of public access to judicial records – i.e., those filed or somehow “incorporated

or integrated into a district court’s adjudicatory proceedings” – the presumption may be rebutted

where “the interest in secrecy outweighs the presumption.” In re Avandia Mktg., Sales Practices

& Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019) (quotation marks and citations omitted).

Where the material that is sought to be disclosed “is of the kind of information that courts will

protect” and “disclosure will work a clearly defined and serious injury to the party seeking

closure,” the presumption is rebutted.” Id. Both requirements are readily met in this case.

               First, these materials are clearly the “kind of information that courts will protect.”

Id. Title III mandates the sealing of applications for a wiretap order. See 18 U.S.C.

§ 2518(8)(b) (“Applications made and orders granted under this chapter shall be sealed by the

judge.” (emphasis added)). In fact, Title III itself notes that “applications and orders shall be

disclosed only upon a showing of good cause.” Id.; see also In re United States, 729 F. App’x

204, 205 (3d Cir. 2018) (declining to unseal wiretap orders and the accompanying documents




                                                  3
          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 4 of 7




and recordings, as the defendant failed to show “good cause” for their release); In re N.Y. Times

Co., 577 F.3d 401, 408 (2d Cir. 2009) (“the structure and purpose of Title III – including the

provision governing disclosure of wiretap applications – revealed a manifest congressional intent

that wiretap applications be treated confidentially and clearly negated a presumption in favor of

disclosure.”).

                 Moreover, Title III, through the “necessity requirement” recognizes that the

interception of a person’s phone calls goes to the heart of his expectation of privacy, and

therefore, it directs courts to balance an individual’s privacy with the needs of a particular

investigation, based on the information the government sets forth in its application and affidavit.

See United States v. Vento, 533 F.2d 838, 844 (3d Cir. 1976) (“Title III obliges the courts to

measure the permissible use of sophisticated electronic investigative tools against the specific

restraints [including the necessity requirement] imposed by Congress to avoid undue intrusions

upon privacy.”). Thus, Title III recognizes the need to protect individuals from an unnecessary

intrusion into their personal communications as well as the need to ensure that those

communications – or the basis for obtaining the communications – are not made public prior to

trial.

                 Second, unsealing the Affidavit would cause both Dougherty and numerous

others named in that Affidavit harm. The Affidavit contains three types of information that

should not be disclosed publicly: (1) allegations against uncharged individuals close to

Dougherty; (2) uncharged allegations against Dougherty that are not referenced in the

Indictment; and (3) irrelevant and unduly prejudicial facts regarding Dougherty.

                 First, there are several individuals named in the indictment who are alleged to

have communicated with Dougherty regarding the use of union funds but who were never




                                                  4
          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 5 of 7




charged with any crimes, including people close to Dougherty. See, e.g., Aff. ¶¶ 23-27, 32,

44,51, 70. Therefore, unsealing the Affidavit would harm Dougherty by implicating uncharged

people in his alleged crimes and would unduly and unnecessarily infringe upon these

individuals’ privacy interests and unfairly cast them with criminal culpability. See United States

v. Smith, 602 F. Supp. 388, 397 (M.D. Pa. 1985) (“many courts have sanctioned the sealing of

documents on the ground that release of the documents to the public would violate third parties’

privacy interests.”); United States v. Huntley, 943 F. Supp. 2d 383, 387 (E.D.N.Y. 2013)

(“revelation of the name [of an uncharged individual] may lead some members of the public to

find—wrongly—‘fire’ when nothing but ‘smoke’ exists. Courts have an obligation not to cater to

any morbid craving for that which is sensational and impure.” (internal quotation marks

omitted)).

               Second, the Affidavit includes a number of uncharged allegations. See, e.g., Aff.

¶¶ 31, 33. The fact that there are allegations that were not included in the Indictment is evidence

that they could not be proven, and as such, unsealing the Affidavit would unfairly prejudice

Dougherty prior to trial. See, e.g., United States v. Lee, 634 F. App’x 862, 865 (3d Cir. 2015)

(noting that to be admissible, evidence of “uncharged crimes or wrongs” must satisfy the

strictures of Rule 404(b) of the Federal Rules of Evidence, yet emphasizing “the risks inherent in

admitting evidence of past bad acts.”).

               Third, the Affidavit includes irrelevant and salacious details regarding Dougherty

that should remain under seal. See, e.g., Aff. ¶¶ 11, 42. These allegations are completely

irrelevant and disclosure of these allegations would serve no legitimate purpose.

               The parties have not disclosed any information that supports unsealing the

Affidavit. In contrast to the allegations contained in the Affidavit that reference third parties




                                                  5
          Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 6 of 7




who were not charged or that reference uncharged conduct, Dougherty’s motion and subsequent

letters to the Court only reference portions of the Affidavit that pertain to the investigatory

efforts undertaken by the government. These portions of the Affidavit are mostly boilerplate

assertions by Agent Blake regarding his belief that other investigatory efforts would not have

been fruitful. While it may have been prudent to have filed the motion under seal, by filing the

motion publicly, the parties did nothing to suggest that the full contents of the 42-page Affidavit

should be revealed to the public.

               To the extent the Court believes that certain portions of the Affidavit should be

unsealed because the parties have effectively already disclosed those portions or that a hearing

will necessarily disclose the content of the Affidavit, the Court could provide the public with a

redacted version of the Affidavit. In its Order, the Court also expressed concern that a hearing

on Dougherty’s motion would require the discussion of the Affidavit in open court. As discussed

above, the only portions of the Affidavit that are at issue are those that pertain to the

government’s investigation and the means by which it attempted to investigate the conduct

alleged in the Indictment. Such testimony and questioning would not infringe upon the privacy

rights of uncharged individuals. A redacted Affidavit would provide the public access to content

the parties already discussed while continuing to protect the privacy interests of uncharged

individuals and Dougherty’s due process rights.

               However, unsealing the Affidavit in its entirety would improperly harm

uncharged individuals and Dougherty himself, by placing into the public eye unsubstantiated

claims that serve no legitimate purpose.




                                                  6
         Case 2:19-cr-00064-JLS Document 135 Filed 06/24/20 Page 7 of 7




              III.    CONCLUSION

              For the foregoing reasons, Defendant John Dougherty respectfully requests that

the Affidavit remained sealed.

Date: June 24, 2020

                                                  /s/ Henry E. Hockeimer, Jr.
                                                  Henry E. Hockeimer, Jr. (I.D. No. 86768)
                                                  David L. Axelrod (I.D. No. 323729)
                                                  Terence M. Grugan (I.D. No. 307211)
                                                  Emilia McKee Vassallo (I.D. No. 318428)
                                                  BALLARD SPAHR LLP
                                                  1735 Market Street, 51st Floor
                                                  Philadelphia, PA 19103-7599
                                                  T: 215.665.8500
                                                  F: 215.864.8999

                                                  Attorneys for Defendant John Dougherty




                                              7
